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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                    )
                                             )
                  Plaintiff,                 )
                                             )                   17-10142-EFM
BOGDANA A. MOBLEY,                           )
                                             )
                 Defendant,                  )
                                             )


                   ORDER TO CONTINUE DETENTION HEARING

       Presently before the Court is Defendant’s Motion to Continue/Reschedule Detention

Hearing.

       IT IS THEREFORE ORDERED that Bogdana Mobley’s detention hearing is

continued to a later date that either would be after the date Ms. Mobley’s daughters are

returned to the United States of America or would coincide with the date the daughters are

returned to the U.S.

       IT IS SO ORDERED.



Dated: August 6, 2018

                                                 United States District Judge
